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                    IN THE UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF GEORGIA
                             COLUMBUS DIVISION

LEONET RUIZ,
                Plaintiff,
                                            CIVIL ACTION NO. 4:17-CV-42-CDL
v.

WAL-MART STORES, INC.,

                Defendant.


       ORDER APPROVING SETTLEMENT AGREEMENT AND
             DISMISSING CASE WITH PREJUDICE
      This matter is before the Court upon the Parties’ Joint Motion to Approve

Settlement Agreement (“Joint Motion”). The Court acknowledges that this Order

is a judicial approval of a reasonable compromise, not a finding, conclusion, or

reflection of any admission of a violation of the FLSA, willful, intentional, or

otherwise. The Court has reviewed the Parties’ Joint Motion, the Memorandum

filed in support thereof, and the Settlement Agreement and General Release

(“Settlement Agreement”). The Court finds that the Parties’ Settlement Agreement

reflects a fair and reasonable resolution of the above-captioned matter.

Consequently, the Court ORDERS as follows:

      1.       The Court GRANTS the Parties’ Joint Motion.
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      2.       The Court APPROVES the Parties’ Settlement Agreement.

      3.       This case is hereby DISMISSED WITH PREJUDICE with each party

to bear his or its own expenses and attorneys’ fees except to the extent provided in

the Settlement Agreement.

      4.       The Court RETAINS JURISDICTION over this matter for the

purposes of enforcing the terms of the Parties’ Settlement Agreement.

      DONE and ORDERED this 2nd day of October, 2017.




                                      s/Clay D. Land
                                      CLAY D. LAND, CHIEF JUDGE
                                      UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF GEORGIA
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